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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA
                               WESTERN DIVISION

BERKLEY NATIONAL INSURANCE               §
COMPANY,                                 §
                                         §
     Plaintiff and Counter-Defendant,    §
                                         §
v.                                       §    C.A. NO. 1:18-CV-00195
                                         §
XTO ENERGY, INC.,                        §
                                         §
      Defendant, Counter-Plaintiff and   §
      Third-Party Plaintiff,             §
                                         §
v.                                       §
                                         §
COMMERCE AND INDUSTRY                    §
INSURANCE COMPANY, TORUS                 §
NATIONAL INSURANCE COMPANY               §
n/k/a STARSTONE NATIONAL                 §
INSURANCE COMPANY, and SENECA            §
SPECIALTY INSURANCE COMPANY,             §
                                         §
      Third-Party Defendants.            §

  DEFENDANT, COUNTER-PLAINTIFF AND THIRD-PARTY PLAINTIFF XTO
ENERGY, INC.’S REPLY IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY
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        XTO Energy, Inc. (“XTO”) submits this Reply in Support of its Motion for Partial

Summary Judgment against Commerce and Industry Insurance Company (“CIIC”) (the “Motion”).

                                PRELIMINARY STATEMENT

        XTO bargained for additional insured coverage for accidents exactly like the underlying

explosion. CIIC seeks to deny XTO the benefit of its bargain by achieving a forfeiture of coverage.

CIIC’s argument hinges on twisting policy language to fit its narrative. By doing so, CIIC strains

credibility and at most highlights that its policy language may be ambiguous.

        At top, CIIC argues that its pollution exclusion should somehow bar coverage for the

underlying injuries when they have nothing to do with pollution. The underlying injuries were

caused by an explosion and fire, not pollution. Courts across the country have held that, consistent

with its drafting history and underwriting intent, the pollution exclusion bars coverage for bodily

injuries arising out of pollution (e.g., cancer caused by inhalation of paint fumes), but not bodily

injuries where a “pollutant” is merely involved (e.g., an explosion or a slip and fall on spilled

paint). Here, the hydrocarbons CIIC brings up time and again did not cause injuries by acting like

a pollutant. Without pollution, there can be no pollution exclusion, and so CIIC’s defense to the

contrary fails.

        Even if the pollution exclusion were to somehow apply, so would its five-pronged time

element exception. CIIC concedes that four prongs—all of the substantive prongs—are satisfied,

yet nevertheless seeks a forfeiture pursuant to a procedural notice prong. But, CIIC waived its

ability to rely on that provision and, even if it did not, CIIC must establish that it was prejudiced.

To escape prejudice, CIIC casts the procedural notice prong as a “condition precedent,” yet North

Dakota courts expressly require a showing of prejudice to avoid coverage pursuant to a notice-

related condition precedent. If CIIC wanted to avoid having to show prejudice, it could have added



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a “regardless of prejudice” clause to its policy—a clause that is widely available in the

marketplace—but it failed to do so. Thus, CIIC’s argument fails.

         Two additional exceptions to the pollution exclusion also apply—the hostile fire and

additional insured exceptions found in the Berkley Primary Policy to which the CIIC Policy

follows form. CIIC argues that those two exceptions somehow conflict with the time element

exception and therefore cannot be read into the CIIC Policy via principles of follow form.

However, there is no conflict because the three exceptions are harmonious and can be read

together. And, if CIIC wanted to avoid that result, “there’s language for that.” Specifically, CIIC

could have pulled from language used elsewhere in their policy to provide that the time element

exception in the CIIC Policy “replaces” the hostile fire and additional insured exceptions in the

Berkley Primary Policy. CIIC cannot receive the benefit of policy language it did not use.

         Veering off course, CIIC next argues that XTO is not an additional insured because of a

contractual liability exclusion found in the Berkley Primary Policy. But the exclusion plainly lacks

application because XTO is claiming coverage for a direct negligence action, not any breach of

contract. Moreover, the exclusion has nothing to do with XTO’s motion (as other insurers have

pointed out). The Court can therefore ignore section VI.A of CIIC’s opposition brief if it wishes,

although XTO would welcome a ruling on the issue.

         In its final twist of policy language, CIIC argues that XTO’s contractors are not additional

insureds because MBI only contracted with XTO, and the additional insured endorsement provides

that additional insureds are those persons or organizations “with whom [MBI] agree in a written

contract or written agreement to add as an Additional Insured.” 1 CIIC glosses right over MBI’s


1
 XTO did not move for summary judgment on CIIC’s affirmative defense that “XTO’s contractors do not qualify as
additional insureds,” which is found at paragraph 51 of CIIC’s Amended Answer. See Doc. No. 115. XTO’s Motion
does not mention paragraph 51. See id. XTO’s two passing mentions of paragraph 51 in its Memorandum of Law were
scrivener’s errors. XTO did not brief the issue, as CIIC pointed out in its opposition brief. CIIC did brief the issue,
however, and so XTO briefly responds to CIIC’s arguments.

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express agreement to add XTO’s contractors as additional insureds in the MSA. CIIC’s twisted

“with” argument has been tried and rejected by courts who have assessed similar contract language

and described similar arguments “as an incorrectly cramped reading of the policy language.”

        As previewed above, all of CIIC’s arguments rely on mischaracterizations and

misapplications of policy language—attempts to turn the policy language into something it is not

to achieve a forfeiture. At worst for XTO, CIIC’s efforts to contort the policy language highlights

ambiguity. And North Dakota courts strictly construe ambiguity against the insurer and in favor

of the insured. For those reasons, XTO’s Motion should be granted.

                                    ARGUMENT & AUTHORITIES

I.      The Pollution Exclusion Does Not Bar Coverage.

        A.       Injuries Caused by an Explosion and Fire Do Not Implicate the Exclusion.

        CIIC argues that the plain language of its pollution exclusion bars coverage; however, the

injuries at issue in the Underlying Lawsuits have nothing to do with pollution. The alleged

underlying injuries were caused by an explosion and fire—not pollution. 2

        To support its argument, CIIC twists Hiland Partners GP Holdings, LLC, et al. v. National

Union Fire Ins. Co. of Pittsburg, P.A. 3 to suggest that, there, the Eighth Circuit concluded that a

standard pollution exclusion bars coverage for claims arising out of an explosion. 4 Not true. That

issue was neither raised nor considered in Hiland. Id. Rather, the only issue the Hiland court

addressed was whether hydrocarbons constitute a “pollutant.” Hiland, 847 F.3d at 598-99.

Therefore, the narrow holding in Hiland does not run contrary to the Ninth Circuit’s holding in

Enron or the countless other decisions from courts around the country that pollution exclusions



2
  See Doc. No. 117, Exhibit 1-B (App. 042, ¶ 39); Ex. 2-F (App. 687) (Fire Report).
3
  847 F.3d 594 (8th Cir. 2017).
4
  Doc. No. 151 at 24.

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should be applied only to injuries caused by pollution. See Enron Oil Trading v. Walbrook Ins.

Co., 132 F.3d 526, 531 (9th Cir. 1997); see also cases cited at Doc. No. 116 at 18-20.

        CIIC attempts to dodge Enron and its progeny by arguing that Enron was based on the

“reasonable expectations” doctrine—a doctrine CIIC alleges North Dakota has not adopted—but

Enron had nothing to do with the reasonable expectations doctrine.

        The “reasonable expectations” doctrine provides that courts may ignore coverage-

defeating policy language if it conflicts with the policyholder’s “reasonable expectation” of

coverage. See St. Paul Fire & Marine Ins. Co. v. Three D Sales, Inc., 518 F. Supp. 305, 311

(D.N.D. 1981). 5 In Enron, the court did not ignore the pollution exclusion in favor of the

policyholder’s reasonable expectations. 132 F.3d at 530–31. Rather, following the very insurance

contract interpretation principles expressly adopted by the North Dakota Supreme Court, the Enron

court addressed the pollution exclusion head-on by construing it “strictly and narrowly” and from

the vantage point of a “reasonable reader.” Id. at 530; see also Ernst v. Acuity, 704 N.W.2d 869,

872 (N.D. 2005) (“Exclusions from coverage in an insurance contract must be clear and explicit

and are to be strictly construed against the insurer.”); Huether v. Nodak Mutl. Ins., 871 N.W.2d

444, 447 (N.D. 2015) (holding that policy terms “should be construed to mean what a reasonable

person in the position of the insured would think it meant”); Haugen v. Auto-Owners Ins., 191

N.W.2d 274 (N.D. 1971) (agreeing with other courts that an insurance policy must be considered

“as a whole in the light of all the circumstances and interpret[ed] as a reasonable person in the

position of the insured should understand it.”). 6




5
  See also Peter Nash Swisher, Symposium Introduction, 5 CONN. INS. L.J. 1, 14 (1998) (“The reasonable expectations
doctrine, which permits courts to ignore express policy language, is perhaps the most notable exception to the
traditional rules of insurance contract interpretation.”).
6
  See also Fisher v. Am. Family Mut. Ins. Co., 579 N.W.2d 599, 602 (N.D. 1998) (same); Sellie v. North Dakota Ins.
Guar. Ass’n, 494 N.W.2d 151, 157 (N.D. 1992) (same).
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        CIIC conflates the Enron court’s review of policy language from the vantage point of a

“reasonable reader” with the “reasonable expectations doctrine,” but the very fact that policy

language was reviewed in Enron means the reasonable expectations doctrine was not at-play. 7

Indeed, it was with that “reasonable reader” lens—a lens which North Dakota courts also apply—

that the Enron court held that the pollution exclusion applied only to pollution-related injuries.

132 F.3d at 530–31 (citing Pipefitters Welfare Educ. Fund v. Westchester Fire Ins. Co., 976 F.2d

1037, 1043–44 (7th Cir.1992); American States Ins. Co. v. Koloms, 687 N.E.2d 72, 81 (Ill. 1997);

American States Ins. Co. v. Kiger, 662 N.E.2d 945, 948 (Ind. 1996)). And, with that same lens,

the Enron court also found that, because the insurer’s interpretation and the reasonable reader’s

interpretation conflicted, the pollution exclusion was ambiguous and, for that reason, too, the

exclusion had to be interpreted in favor of the policyholder. 132 F.3d at 530–31. Notably, North

Dakota identifies ambiguity, and construes it against the insurer, in the same manner. See, e.g.,

Scottsdale Ins. Co. v. Tri-State Ins. Co., 302 F. Supp. 2d 1100 (D.N.D. 2004) (“Any ambiguity or

reasonable doubt as to the meaning of an insurance policy is strictly construed against the insurer

and in favor of the insured.”).

        CIIC makes the same faulty reasonable expectations argument that it makes with Enron

with several of XTO’s other cases. But all of those cases apply North Dakota-sanctioned principles

to reach the common-sense conclusion that the pollution exclusion applies only to bodily injuries

caused by pollution. See, e.g., Nautilus Ins. Co. v. Jabar, 188 F.3d 27, 31 (1st Cir.1999) (“[I]t is

entirely reasonable that an ordinarily intelligent insured would understand this provision to exclude

coverage only for injuries caused by traditional environmental pollution.”); Am. States Ins. Co. v.



7
  It was only after reaching its conclusion “that Montana courts would hold that the pollution exclusion does not bar
coverage of the claimed loss” that the Enron court even mentioned the “reasonable expectations doctrine.” 132 F.3d
at 530–31. The doctrine was mentioned to address an “even if” argument—not as the central reason (or even as a
reason) for its holding. See id.
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Koloms, 687 N.E.2d 72, 81 (Ill. 1997) (holding that “the overbreadth in the language of the

exclusion as well as the manifestation of an ambiguity which results when the exclusion is applied

to cases which have nothing to do with ‘pollution’ in the conventional, or ordinary, sense of the

word.”); Motorists Mut. Ins. Co. v. RSJ, Inc., 926 S.W.2d 679, 680–82 (Ky. App.1996) (noting

that “terms used in insurance contracts ‘should be given their ordinary meaning as persons with

the ordinary and usual understanding would construe them.’”); Atlantic Mut. Ins. Co. v. McFadden,

595 N.E.2d 762, 764 (Mass. 1992) (when construing language in an insurance policy, we “consider

what an objectively reasonable insured, reading the relevant policy language, would expect to be

covered.”); West American Ins. Co. v. Tufco Flooring East, 409 S.E.2d 692, 699 (N.C. 1991),

overruled on other grounds by Gaston County Dyeing Mach. Co. v. Northfield Ins. Co., 524 S.E.2d

558 (N.C. 2000) (“When an ambiguity exists, an insurance policy should be construed as a

reasonable person in the position of the insured would have understood it to mean.”).

       CIIC’s attempt to distinguish Kent, Keggi, and Tufco—three additional cases cited by

XTO—as cases that only considered whether the substance in question fell under the definition of

“pollution” is simply incorrect. Each of those cases explicitly held that the pollution exclusion

applies only to bodily injuries arising out of pollution, i.e., environmental-types harms. Kent

Farms, Inc. v. Zurich Ins. Co., 969 P.2d 109, 111 (Wash Ct. App. 1998) (finding “under a

reasonable reading of the policy, the pollution exclusion could be construed to limit claims only

for traditional environmental damages…”); Keggi v. Northbrook Property and Cas. Ins. Co., 13

P.3d 785, 792 (Ariz. 2000) (“We conclude that the purpose of the [pollution

exclusion]…demonstrate[s] that the language nevertheless should not be interpreted to preclude

coverage for bacterial contamination absent evidence that the actual contamination arose from

traditional environmental pollution.”); Tufco, Inc., 409 S.E.2d at 699 (“The last reason the



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pollution exclusion does not deny coverage to Tufco for Perdue’s claim is because the pollution

exclusion applies only to discharges into the environment.”).

       Neither have Kent, Enron and Atlantic Mut. Ins. been superseded by cases finding absolute

pollution exclusions to be unambiguous. To the contrary, each of the cases is still “good law,” as

even opinions cited by CIIC have acknowledged. For example, Quadrant Corp. v. Am. States Ins.

Co., 110 P.3d 733, 742 (Wash. 2005) did not supersede Kent. Instead, the court found that, as to

the specific facts of that case, the pollution exclusion was unambiguous. Id. at 742. However, as

to the Kent ruling, the court went on to note that “the absolute pollution exclusion clause can be

ambiguous with regard to the facts of one case but not another.” Id.

       Essex likewise did not supersede Atlantic Mut. Ins. In Essex, a Massachusetts federal court

found that a pollution exclusion applied to bar coverage for injuries caused by the discharge of

carbon monoxide from a malfunctioning Zamboni. Essex Ins. Co. v. Tri-Town Corp., 863 F. Supp.

38, 41 (D. Mass. 1994). Even so, the court noted that it was “troubled by what appears to be Essex’s

ability to continually limit the scope of coverage while constantly increasing premiums.” Id. After

Essex, the Massachusetts Supreme Court remedied such concerns and upheld the holding in

Atlantic Mut. Ins., reasoning that the “exclusion should not reflexively be applied to accidents

arising during the course of normal business activities simply because they involve a ‘discharge,

dispersal, release or escape’ of an ‘irritant or contaminant.’” W. Alliance Ins. Co. v. Gill, 686

N.E.2d 997, 999 (Mass. 1997) citing to Koloms, 687 N.E.2d 72 (Ill. 1997).

       Nor has the Enron case been superseded by Sokoloski or Swank. For one, Sokoloski did not

involve bodily injury claims, but rather claims that property was damaged by soot and smoke.

Sokoloski v. American West Ins. Co., 980 P.2d 1043 (Mont. 1999). Swank, on the other hand,

involved injuries caused by inhalation and/or direct dermal contact with chemicals in paint



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coatings, i.e., injuries caused by pollution. Swank Enterprises, Inc. v. United Fire and Casualty

Co., 2020 WL 1685746 (D. Mont. Apr. 7, 2020).

       Finally, CIIC’s attempt to cite its own cases applying the pollution exclusion falls flat, as

each of those cases applied the exclusion because the damages there were actually caused by

pollution—unlike the case at hand. Deni Assocs. of Fla., Inc. v. State Farm Fire & Cas. Ins. Co.,

711 So. 2d 1135, 1137 & n. 2 (Fla. 1998) (finding pollution exclusion applied to damage caused

by indoor air contamination from ammonia spill and insecticide accidently sprayed on bystanders);

Certain Underwriters at Lloyd’s London v. C.A. Turner Const. Co., 112 F.3d 184, 188 (5th Cir.

1997) (finding pollution exclusion applied to injuries sustained by employee who inhaled phenol

gas); Bernhardt v. Hartford Fire Ins. Co., 648 A.2d 1047, 1051 (Md. Ct. Spec. App. 1994) (finding

pollution exclusion applied for claims arising out of death of man caused by inhalation of carbon

monoxide fumes); Bituminous Cas. Corp. v. Sand Livestock Sys., Inc., 728 N.W.2d 216, 221 (Iowa

2007) (finding pollution exclusion applied to claim arising out of inhalation of carbon monoxide

fumes); United Fire & Cas. Com. Co. v. Titan Contractors Serv., Inc., 751 F.3d 880, 886 (8th Cir.

2014) (finding pollution exclusion applied to injuries sustained by inhalation of concrete sealant).

       In sum, XTO’s and CIIC’s cases stand for a simple and unremarkable proposition—the

pollution exclusion should bar coverage for environmental-type injuries caused by pollution but

should not bar coverage for injuries where a “pollutant” is merely involved. Here, the injuries

were caused by an explosion and not pollution. Thus, the pollution exclusion should not apply.

       B.      At Worst, the Pollution Exclusion is Ambiguous As Applied to these Facts.

       As CIIC concedes, North Dakota has not determined whether the pollution exclusion is

ambiguous or whether it applies only to environmental-type harms. Doc. No. 151 at 31; see also

Hiland, 847 F.3d at 598 (“North Dakota has not addressed whether pollution exclusions like the

one in this case are ambiguous.”). To the extent the Court finds the CIIC pollution exclusion, time

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element exception, additional insured exception and/or the hostile fire exception 8 ambiguous, the

Court must construe the CIIC Policy against CIIC and in favor of coverage to XTO. Scottsdale

Ins. Co. v. Tri-State Ins. Co., 302 F. Supp. 2d 1100 (D.N.D. 2004) (“Any ambiguity or reasonable

doubt as to the meaning of an insurance policy is strictly construed against the insurer and in favor

of the insured.); Ctr. Ins. Co. v. Blake, 370 F. Supp. 2d 951 (D.N.D. 2005) (same).

II.     If the Pollution Exclusion Applies, so Does its Time Element Exception, as CIIC
        Waived the Notice Requirement and Cannot Demonstrate Prejudice

        If the pollution exclusion were to apply, so would its time element exception, which carves

back coverage for pollution that commences during a certain “time.” The exception has five

criteria, some of which are substantive and some of which are procedural. CIIC does not dispute

that four criteria, including all the substantive criteria, are satisfied. 9 Nevertheless, CIIC argues

for a forfeiture based upon XTO’s alleged noncompliance with a procedural notice component. 10

        CIIC ignores that, under N.D.C.C. § 26-1-32-09 and North Dakota common law, CIIC

waived its ability to avoid coverage based upon a procedural notice provision. 11 CIIC also ignores

that, in any event, under North Dakota law, an insurer must demonstrate prejudice to avoid

coverage based upon a notice provision, and here CIIC has made no showing of prejudice. 12




8
   The time element exception is discussed in Section II and the additional insured and hostile fire exceptions are
discussed in Section III.
9
  See XTO’s Br. at 22 [Doc. No. 116].
10
   See CIIC’s Opp. at 32–33 [Doc No. 151].
11
    See D.E.M. v. Allickson, 555 N.W.2d 596, 599 (N.D. 1996) (holding that insurer was “estopped from raising
insufficiency of notice as a defense” because “an insurer which denies liability on specified grounds may not
subsequently attempt to deny coverage on different grounds”). In passing, CIIC asserts that it “timely apprised XTO
that the Pollution Exclusion in CIIC Policy barred coverage” by providing such a notification approximately eight
months after XTO provided notice of the underlying claim and after this litigation was commenced. CIIC’s Opp. at
19–20, 33 [Doc No. 151]. CIIC ignores that, even if an eight-month delay was “timely,” CIIC’s initial response did
not mention late notice. See XTO’s Br. at 24 [Doc. No. 116]. CIIC did not mention late notice until it served its
responses to XTO’s interrogatories. See id.
12
   See CIIC’s Opp. at 32–33 [Doc No. 151].

XTO ENERGY, INC.’S REPLY IN SUPPORT OF ITS
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       CIIC argues that it can simply ignore that blackletter North Dakota law because the notice

provision in the exception is a “condition.” That argument makes no sense because notice

provisions in insurance policies are always conditions. 13A COUCH ON INS. § 193:49 (noting that

“many jurisdictions now require proof of prejudice in order for an insurer to avoid liability in the

event of an unreasonable or unexcused delay, even under a notice provision which is a condition

precedent to recovery”).

       The North Dakota Supreme Court has expressly recognized this principle, remarking that,

“although the policy may speak of the notice provision in terms of ‘condition precedent,’ . . . it

becomes unreasonable to read the provision unrealistically or to find that the carrier may forfeit

coverage, even though there is no likelihood that it was prejudiced by the breach.” Finstad v.

Steiger Tractor, Inc., 301 N.W.2d 392, 398 (N.D. 1981) (citing Cooper v. Gov’t Employees Ins.

Co., 51 N.J. 86, 237 A.2d 870 (1968)). Moreover, and contrary to CIIC’s assertions, the North

Dakota Supreme Court has also remarked that, with respect to a notice-related defense, “[t]he

burden of persuasion is the carrier’s.” Id. (citing Cooper v. Gov’t Employees Ins. Co., 51 N.J. 86,

237 A.2d 870 (1968)); see also Geico Ins. Co. v. Estate of Schmidt, No. A2-96-120, 1999 WL

33283325, at *4 (D.N.D. Mar. 30, 1999) (refusing to hand insurer a forfeiture because it “failed to

meet its burden with respect to establishing prejudice”).

       CIIC’s argument is not saved by its cases, all of which are inapposite. As noted in XTO’s

opposition brief, in Hiland—an Eighth Circuit decision that CIIC desperately wants this case to

be—the policyholder did not argue that the insurer waived its ability to avoid coverage on the

notice condition. Hiland Partners GP Holdings v. Nat’l Union Fire Ins. Co., 847 F.3d 594, 601

(8th Cir. 2017). The policyholder also did not argue that, and thus the court did not consider

whether, a prejudice standard should apply. Id. Indeed, the word prejudice does not appear once

in the opinion. Id. CIIC wishes Hiland considered the issues before the Court, but it did not.

XTO ENERGY, INC.’S REPLY IN SUPPORT OF ITS
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        Bell Lumber, a case applying Minnesota law, is similarly inapposite. Bell Lumber & Pole

Co. v. U.S. Fire Ins. Co., 60 F.3d 437, 441 (8th Cir. 1995). Bell Lumber involved a substantive

“sudden and accidental” exception to the pollution exclusion, whereas here CIIC seeks a forfeiture

pursuant to a procedural notice provision. Id. Bell Lumber is therefore inapplicable. 13

        CIIC’s last two cases, both of which applied Louisiana law, are akin to Hiland in that they

did not consider the issue of waiver. See Apollo Energy v. Certain Underwriters at Lloyd’s,

London, 387 F. Supp. 3d 663 (M.D. La. 2019); In re Matter of Complaint of Settoon Towing, 720

F.3d 268 (5th Cir. 2013). And, with respect to prejudice, those cases came out the way they did

because Louisiana law, unlike North Dakota law, does not require a showing of prejudice when an

insurer seeks to disclaim coverage based upon a notice-related condition precedent. Apollo

Energy, 387 F. Supp. 3d at 675–76; Settoon Towing, 720 F.3d at 276–80. As noted above, pursuant

to Finstad and its progeny, under North Dakota law, insurers must show prejudice to avoid

coverage pursuant to a notice-related condition precedent. See Hasper v. Ctr. Mut. Ins. Co., 723

N.W.2d 409, 415 (N.D. 2006) (holding that prejudice is required even when “the policy may speak

of the notice provision in terms of ‘condition precedent’”).

        CIIC’s cases are also inapposite because they do not address the foundational principle

underpinning North Dakota’s notice-prejudice rule—the abhorrence of forfeitures of insurance

coverage. Hasper, 723 N.W.2d at 415 (“The law abhors a forfeiture”). The North Dakota Supreme

Court carved that rule in stone in Finstad when it held that, because insurance is not “a truly

consensual arrangement and [is] widely available only on a take-it-or-leave it basis[,]” an insurer

“may not forfeit the bargained-for protection unless there are both a breach of the notice provision

and a likelihood of appreciable prejudice.” 301 N.W.2d at 398.


13
  It is axiomatic that an insurer may forfeit coverage only upon “an uncured material breach”; not upon any breach.
13 CORBIN ON CONTRACTS § 68.2 (2019) (citing RESTATEMENT (SECOND) OF CONTRACTS § 242 (1981)).

XTO ENERGY, INC.’S REPLY IN SUPPORT OF ITS
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         If CIIC wanted to take North Dakota’s notice-prejudice rule out of the equation, it could

have included a provision in its policy providing as much. To do so, some insurers have embedded

a “regardless of prejudice” clause into identical exceptions to pollution exclusions. For example,

one of the insurance policies at issue in Oasis Petroleum North America v. Drakin Oilfield

Construction, Inc. included a nearly-identical five criteria exception to its pollution exclusion that

was followed by a “regardless of prejudice” clause:




See Aff. of C. Green at Ex. A (emphasis added). 14 Notably, that “regardless of prejudice” clause

was available to CIIC as it was created by Insurance Services Office, Inc., which is “an

organization that develops standard forms for the insurance industry.” Dogloo, Inc. v. N. Ins. Co.

of N.Y., 907 F. Supp. 1383, 1389 (C.D. Cal. 1995). The CIIC Policy itself is based upon an

Insurance Services Office, Inc. policy form. See Ex. 1-H. CIIC should not receive the benefit of

policy language that it failed to include in its policy.

         In sum, CIIC’s argument that it need not prove prejudice fails, as insurers in North Dakota

must always show prejudice to achieve a forfeiture pursuant to a notice-related condition

precedent. If CIIC wanted to avoid North Dakota’s notice-prejudice rule it could have utilized

policy language available in the marketplace that allows for a forfeiture without a showing of

prejudice. CIIC did not utilize that language, however, and thus North Dakota’s notice-prejudice

and anti-forfeiture rules prevail. Because CIIC has made no showing of prejudice, its argument

against the application of the exception to the pollution exclusion fails as a matter of law.


14
   Exhibit A to the Affidavit of Carla Green is a copy of the insurance policy at issue in Oasis Petroleum North
America, LLC v. Drakin Oilfield Construction, Inc., No. 4:14-cv-00077 (D.N.D.). That policy was attached as Exhibit
C to the affidavit of S. DiLibertro, which was filed in support of Defendant’s Motion for Summary Judgment. The
Court may take judicial notice of Exhibit A because it was attached as an exhibit to federal court filing. See Stutzka
v. McCarville, 420 F.3d 757, 760 n.2 (8th Cir. 2005).

XTO ENERGY, INC.’S REPLY IN SUPPORT OF ITS
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III.     The CIIC Policy Incorporates the Berkley Policy’s Hostile Fire and Additional
         Insured Exceptions, Which Can Be Read Together with CIIC’s Pollution Exclusion

         In addition to the time element exception, the CIIC Policy incorporates, via its “follow-

form” provision, both the hostile fire and additional insured exceptions found in the Berkley

Primary Policy. 15 CIIC does not dispute that its policy is a follow-form policy that incorporates

the terms and conditions of the Berkley Primary Policy, but CIIC nevertheless argues that the

hostile fire and additional insured exceptions are exceptions to the rule and are not incorporated

into the CIIC Policy. 16 CIIC’s motivation is obvious—in the event the pollution exclusion applies,

the hostile fire and additional insured exceptions would carve back coverage and avoid a forfeiture.

CIIC, of course, desperately wants to avoid having to provide the bargained-for coverage.

         CIIC hangs its hat on the follow-form provision’s language that provides that the terms and

conditions of the Berkley Primary Policy will be incorporated “subject to” the terms and conditions

of the CIIC Policy. 17 Yet, the parties agree that, pursuant to that “subject to” language, if the terms

and conditions of the Berkley Primary Policy and the CIIC Policy conflict, the terms and conditions

of the CIIC Policy will prevail. 18 What the parties disagree on, however, is whether there is a

conflict between the exceptions in the Berkley Primary Policy and the exception in the CIIC Policy.

CIIC, of course, wants a conflict because it wants a forfeiture.

         It is bar-exam contract law that courts “attempt to harmonize the various provisions of

contract” and thereby “read them to avoid a conflict.” Transit Cas. v. Selective Ins. Co., 137 F.3d

540, 545 (8th Cir. 1998). 19 Consistent with that foundational principle, North Dakota courts have



15
   Ex. 1-H (App. 290) (CIIC Policy).
16
   See CIIC’s Opp. at 34–37 [Doc No. 151].
17
   Id. at 34–35.
18
   Id. at 35–36.
19
   See also Dundee Mut. Ins. Co. v. Balvitsch, 540 N.W.2d 609, 612 (N.D. 1995) (“Statutes must be considered as a
whole and in relation to other provisions, with each provision harmonized, if possible, to avoid conflicts.”).

XTO ENERGY, INC.’S REPLY IN SUPPORT OF ITS
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remarked that, when construing insurance contracts, “the whole of a contract is to be taken together

to give effect to every part.” North Star Mut. v. Ackerman, 940 N.W.2d 857, 861 (N.D. 2020).

        In violation of those bedrock rules, CIIC would have the Court hunt for a conflict where

there is none. Specifically, CIIC argues that the hostile fire and additional insured exceptions

found in the Berkley Primary Policy conflict with the time element exception in the CIIC Policy,

and thus the hostile fire and additional insured exceptions cannot be read into the CIIC Policy via

principles of follow form. But there is no conflict because all three exceptions can easily be read

together. To avoid that obvious result, CIIC engages in a results-orientated analysis that conflates

the conflict analysis: It argues that, if the Court incorporates the hostile fire and additional insured

exceptions then there would be coverage, whereas if the Court does not incorporate the hostile fire

and additional insured exception then there would not be coverage, and, ipso facto, conflict. See

CIIC’s Opp. at 36 [Doc No. 151]. But courts do not engage in a results-oriented analysis to

determine whether there is a conflict; rather, they look at the text of the contract, and here there is

no textual reason for not reading all three exceptions together—as in, via principles of follow form,

the CIIC Policy actually has three discrete exceptions to the pollution exclusion: (1) hostile fire;

(2) additional insured; and (3) time element. If the elements of any one of these exceptions are

met, coverage is restored.

        This is not a situation where the Berkley Primary Policy includes a time element exception

with certain elements and the CIIC Policy includes a time element exception with different

elements. In that case, a conflict might arise. But here, the three exceptions concern entirely

different scenarios. There is nothing in the time element exception that would undermine—much

less disallow—consideration of whether a hostile fire had occurred (the subject of the hostile fire

exception) or whether the owner of the subject premises had been named as an additional insured

(the subject of the additional insured exception). The time element exception is silent on those

XTO ENERGY, INC.’S REPLY IN SUPPORT OF ITS
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issues because it goes to a different concern—the timing of the incident at issue. Thus, the time

element exception no more conflicts with the hostile fire and additional insured exceptions than

the hostile fire and additional insured exceptions conflict with each other. Not at all.

         The fact that these exceptions can be easily harmonized is where CIIC’s cases depart from

the present factual record. For example, in Tile Shop, the primary policy provided that “the Insurer

shall not be liable to make any payment for Loss in connection with any Claim made against an

Insured alleging any Wrongful Act occurring prior to August 20, 2012,” whereas the excess policy

provided that the insurer shall not be liable for “any Loss in connection with any claim alleging,

arising out of, based upon, or attributable to any wrongful act(s) committed, attempted, or allegedly

committed or attempted prior to August 20, 2012.” Tile Shop Holdings, Inc. v. Allied World Nat’l

Assurance Co., No. 17-cv-776, 2019 WL 2357044, at *5 (D. Minn. June 4, 2019) (emphasis in

original). Far from merely adding an exception, the excess policy in Tile Shop changed the exact

words of the subject exclusion, and so there was no way to read the primary policy and excess

policy together. See id. CIIC’s other cases are likewise inapposite. 20

         If CIIC wanted to avoid application of the Berkley Primary Policy’s exceptions, it could

have contracted for something different. Specifically, CIIC could have used language to provide

that the time element exception in the CIIC Policy “replaces” the exceptions in the Berkley Primary


20
   UnitedHealth did not actually determine whether there was a conflict, but the court did provide some helpful
guidance on this issue with the following hypothetical:
          “So, for example, if the Antitrust Endorsement provides coverage for punitive damages, but the
          Executive Risk and First Specialty policies exclude such coverage, then the Executive Risk and First
          Specialty policies do not provide coverage for punitive damages.”
UnitedHealth Grp. Inc. v. Columbia Cas. Co., 941 F. Supp. 2d 1029, 1053 (D. Minn. 2013). The equivalent here
would be if the CIIC Policy provided, expressly, that it was not incorporating the hostile fire and additional insured
exceptions. There is no such language, however, and so UnitedHealth is inapposite. Insituform Technologies contains
dicta that CIIC takes out of context to advance its prerogative, but that case was about whether a carve back in an
excess-level endorsement “governs the entire endorsement or merely the portion of the endorsement that [is entitled]
‘Following Form Hazards.’” Insituform Techs., Inc. v. Am. Home Assur. Co., 566 F.3d 274, 277 (1st Cir. 2009). To
be clear, it was not a case about whether the exceptions in a primary policy were compatible with the exceptions in a
follow-form excess policy. See id. United National involved the same inapposite scenario as Insituform Technologies.
United Nat. Ins. v. Hydro Tank, 497 F.3d 445, 453 (5th Cir. 2007), opinion am., 525 F.3d 400 (5th Cir. 2008)

XTO ENERGY, INC.’S REPLY IN SUPPORT OF ITS
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Policy. 21 Instead, at the end of the subject exception, the CIIC Policy provides that, “[a]ll other

terms, definitions, conditions, and exclusions of this policy remain unchanged.” That clause

necessarily encompasses the CIIC Policy’s follow form clause, and thereby the Berkley Primary

Policy exceptions. 22 CIIC offers no availing argument to the contrary.

         At best for CIIC, the CIIC Policy is ambiguous with respect to its incorporation of the

hostile fire and additional insured exceptions. That is especially the case because “clear and

precise language could have been . . . employed” by CIIC to achieve its desired result. Globe

Indem. Co. v. Wolcott, 152 F.2d 545, 549 (8th Cir. 1945). In North Dakota, ambiguous language

is construed against the insurer. See Fisher v. Am. Family Mut., 579 N.W.2d 599, 602 (N.D. 1998).

Thus, CIIC’s forfeiture attempt, where “[i]t accepts on the one hand a full premium payment and

on the other it proposes to give nothing for such payment,” fails. Globe, 152 F.2d at 549. 23

IV.      CIIC’s Remaining Arguments are Either Inapplicable or Fail.

         As set forth in XTO’s Motion, XTO seeks summary judgment on, among other issues,

CIIC’s affirmative defense that “XTO’s claims are barred because XTO does not qualify as an

additional insured under CIIC’s policy and the Berkley policies.” See Doc. No. 115. In response

to XTO’s arguments on the additional insured issue, CIIC first refers to Berkley’s briefing on the

matter and offers no substantive response of its own. See CIIC’s Opp. at 37 [Doc. No. 151].




21
   Doc. No. 117-9, Ex. 1-H (App. 308) The CIIC Policy endorsement at issue provides that only Paragraph Q in the
CIIC Policy “is deleted in its entirety and replaced by the following….” It makes no reference whatever to the
provisions in the Berkley policy to which the CIIC Policy follows form. CIIC could have used similar language to
provide that the endorsement deletes and replaces the pollution exclusion, and exceptions thereto, in the followed
Berkley Policy – but did not do so.
22
   Id. (App. 309) (CIIC Policy).
23
   CIIC fails to address the substantive application of the hostile fire and additional insured exceptions, and instead
refers the Court to Berkley’s briefing on the matter. See CIIC’s Opp. at 36–37 [Doc No. 151]. Accordingly, XTO
respectfully refers the Court to its corresponding briefing in that Berkley motion sequence. See XTO’s Mem. of Law
in Supp. of its Motion for Partial Summ. J. at 31-39 [Doc. No. 111]; XTO’s Reply in Further Supp. of its Motion for
Partial Summ. J. at 13-20 [Doc. No. 159].

XTO ENERGY, INC.’S REPLY IN SUPPORT OF ITS
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         CIIC then veers off course with two additional arguments, both of which pertain to issues

that are entirely outside the scope of, and have nothing to do with, XTO’s Motion. First, CIIC

argues that XTO is not an additional insured because of a contractual liability exclusion found in

the Berkley Primary Policy, yet that exclusion lacks any application here and has nothing to do

with XTO’s motion in the first place. 24 And, second, CIIC argues that XTO’s contractors are not

additional insureds, yet that issue, too, is beyond the scope of XTO’s motion (and again,

substantively erroneous). For those reasons and the reasons set forth below, CIIC’s two additional

defenses fail.

         A.       The Contractual Liability Exclusion Does Not Bar Coverage For Tort Claims
                  Against XTO (Although XTO Did Not Move For Judgment On That Defense).

         Confoundingly, CIIC argues in section VI.A of its opposition that XTO is not an additional

insured because of a contractual liability exclusion found in the Berkley Primary Policy. But that

exclusion has nothing to do with XTO’s motion and, in any event, has no application to this case. 25

Indeed, XTO cannot even discern how its additional insured status even connects to the contractual

liability exclusion, as XTO is seeking direct coverage for tort claims made directly against it.

         As an initial matter, XTO admittedly did not move for judgment on CIIC’s contractual

liability exclusion defense, so it is not clear why CIIC raised the exclusion in its response papers.

See Doc. No. 115. Regardless, because the exclusion clearly does not apply to the case at hand,

XTO invites the Court to rule on the issue.




24
   CIIC’s contractual liability defense is pled at paragraph 52 of its Amended Answer. See Doc. No. 55 at 10, ¶ 52.
Yet, XTO moved for summary judgment on those CIIC defenses pled at paragraphs 50, 51, and 53. See XTO’s Br. at
39 [Doc. No. 116]. Tellingly, this contractual liability exclusion, which again is found in the Berkley Primary Policy,
was not raised by Berkley in its motion papers. See Pl. Berkley Nat’l Ins. Co.’s Memo. of Law in Resp.to XTO’s Mot.
for Partial Summ. J. at 8, n.1 [Doc. No. 143]. In fact, Berkley aptly noted that “XTO is not moving for summary
judgment on Berkley’s claims and affirmatives defenses that . . . even if XTO were an additional insured, it would
have no coverage . . . due to the . . . contractual liability exclusions.” Id.
25
   See CIIC’s Opp. at 37–40 [Doc No. 151].

XTO ENERGY, INC.’S REPLY IN SUPPORT OF ITS
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        The contractual liability bars coverage for liability assumed in a contract, but XTO was

directly sued for negligence (not breach of contract) in the Stassinos and Maheu lawsuits discussed

by CIIC in its opposition. 26 Thus, the exclusion has no application because XTO does not seek

insurance coverage for obligations it assumed in a contract, but for direct claims of tort liability

brought against it. See Borsheim Builders Supply, Inc. v. Manger Ins., Inc., 917 N.W.2d 504, 512

(N.D. 2018) (holding “that the ‘contractual liability’ exclusion does not apply . . . because the

[underlying] claims against [CSI] are direct claims of tort liability”). 27 In the event the Court is

inclined to consider this issue, it should therefore reject CIIC’s defense and dismiss it from this

case.

        B.       Pursuant to the Plain Language of the MSA and Case Law, XTO’s
                 Contractors Qualify as Additional Insureds.

        XTO did not move for summary judgment on CIIC’s affirmative defense that “XTO’s

contractors do not qualify as additional insureds,” which is found at paragraph 51 of CIIC’s

Amended Answer. 28 XTO’s Motion does not mention paragraph 51. 29 XTO’s two passing

mentions of paragraph 51 in its Memorandum of Law were scrivener’s errors. XTO did not brief

the issue, as CIIC pointed out in its opposition brief. 30 CIIC did brief the issue, however, and so

XTO briefly responds to CIIC’s arguments.

        Substantively, and contrary to CIIC’s assertions, MBI expressly agreed to name XTO’s

contractors as additional insureds in all of its policies.                 The MSA provides that “ALL

INSURANCE POLICIES . . . WILL EXTEND TO AND PROTECT THE XTO GROUP TO



26
   See Ex. 4 (App. 827, ¶¶ 42–45) (Stassinos lawsuit, alleging that “XTO negligently breached the duties owed to Mr.
Stassinos . . . ”); Ex. 1-B (App. 040, ¶ 32) (Maheu lawsuit, alleging that “the negligence of Defendant XTO
proximately caused the injuries and damages sustained by Plaintiffs”).
27
   See XTO’s Br. at 3–7 [Doc. No. 116].
28
   See Doc. No. 115.
29
   See id.
30
   See CIIC’s Opp. at 39 [Doc No. 151].

XTO ENERGY, INC.’S REPLY IN SUPPORT OF ITS
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THE FULL EXTENT AND AMOUNT OF SUCH COVERAGE.” Ex. 1-E (App. 117-39)

(emphasis added). The MSA broadly defines “XTO GROUP” as “XTO, its Affiliates . . . partners,

contractors and subcontractors . . . and all of their respective directors, officers, employees,

representatives, agents, licensees, and invitees.” Id. (emphasis added). Thus, there is no question

that MBI agreed to name XTO’s contractors as additional insureds in the CIIC Policy.

           To dodge coverage nonetheless, CIIC embraces an absurd reading of the Berkley Primary

Policy to which it follows form. CIIC notes that the Berkley Primary Policy provides that

additional insureds are those persons or organizations “with whom [MBI] agree in a written

contract or written agreement to add as an Additional Insured.” 31 CIIC then goes off the rails by

arguing that MBI only contracted with XTO, and so only XTO (and not its contractors) is an

additional insured, regardless of the fact that MBI expressly agreed to add XTO’s contractors as

additional insureds in the MSA. 32

           CIIC’s twisted “with whom” argument has been tried and rejected by courts considering

identical contract language and fact patterns. In Ownbey v. Aker Kvaerner Pharmaceuticals Inc.,

the underlying contract was between the named insured and “ImClone,” yet required the named

insured to procure additional insured coverage for another entity, “Kvaerner Process.” 2:07-cv-

2190, 2017 WL 3872377, at *6 (D.N.J. Sept. 1, 2017). Kvaerner Process then sought additional

insured coverage. Id. The court “acknowledge[d] that because Kvaerner Process was not a party

to the contract between ImClone and [the named insured], an argument might be made that

Kvaerner Process was not a party “with whom” [the named insured] agreed in writing to provide

additional insured coverage.” Id. The court rejected that argument, however, noting that, like




31
     See CIIC’s Opp. at 40 [Doc No. 151].
32
     See id.

XTO ENERGY, INC.’S REPLY IN SUPPORT OF ITS
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here, the underlying “contract expressly and unambiguously requires [the named insured] to obtain

additional insured coverage for Kvaerner Process.” Id.

         The court in Liberty Mutual Fire Insurance Co. v. Zurich American Insurance Co. rejected

the same argument, describing the insurer’s argument “as an incorrectly cramped reading of the

policy language.” No. 14-cv7568, 2016 WL 452157, at *2 (S.D.N.Y. Feb. 4, 2016). In Liberty

Mutual, the City of New York sought coverage as an additional insured when the named insured,

NASDI, signed an agreement with Conti that provided for extending additional insured coverage

to not only Conti but also the City. Id. Rejecting the same argument made here, the court held

that “since NASDI promised to procure additional insurance coverage for both Conti and the City

in its written contract with Conti, the City is covered as an additional insured.” Id. 33

         In short, and consistent with Ownbey and Liberty Mutual, XTO’s contractors are indeed

additional insureds. That is exactly what the MSA calls for. CIIC’s reading to the contrary is “an

incorrectly cramped reading of the policy language” that contravenes what the MSA “expressly

and unambiguously requires.” At best for CIIC, the CIIC Policy is ambiguous on this issue, and

ambiguity is construed against the insurer. See Fisher, 579 N.W.2d 599, 602 (N.D. 1998). On

those bases, CIIC’s affirmative defense should therefore be rejected as a matter of law.

                                                 CONCLUSION

         XTO respectfully requests that the Court grant XTO’s Motion in its entirety.



33
   CIIC’s single cited case, Gilbane Bldg. Co./TDX Constr. Corp. v. St. Paul Fire & Marine Ins. Co., a split decision
rendered over a strong dissent, is distinguishable in that, relying on New York’s strict (and unique) rules of policy
interpretation, the majority refused to examine the underlying contract (here, the MSA), deeming it inadmissible
“extrinsic evidence.” 31 N.Y.3d 131, 137 (N.Y. 2018). Those same rules of interpretation do not apply here, as
evidenced by CIIC’s (and all other parties’) frequent citations to the MSA, a document incorporated into the CIIC
Policy. See generally CIIC’s Opp. [Doc No. 151]. Moreover, in Gilbane, and unlike here, the party seeking additional
insured coverage was not a “contractor” of the signor of the underlying contract (i.e., a party in privity), but rather a
third-party joint venture hired to serve as a construction manager. Id. at 134. Against that backdrop, the dissent (which
was joined by another justice) pointed out that the majority reached the wrong conclusion “focus[ing] on a single word
in the blanket additional insured endorsement at issue while ignoring others.” Id. at 137. CIIC makes the same mistake
here.

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Dated: August 31, 2020.

                                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was sent to all parties of record

pursuant to the ECF guidelines and the Federal Rules of Civil Procedure on this 31st day of August

2020.


                                                /s/ Leslie C. Thorne
                                                Leslie C. Thorne




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MOTION FOR PARTIAL SUMMARY JUDGMENT                                                                  22
